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       Attorneys for Plaintiff,
  5    DIANA BATTS
  6

  7                                  UNITED STATES DISTRICT COURT

  8                                CENTRAL DISTRICT OF CALIFORNIA

  9    DIANA BATTS,                                   ) Case No.: 2:12-cv-08046-MWF-MRW
                                                      )
 10                   Plaintiff,                      )
              v.                                      ) STIPULATION TO DISMISS CASE
 11                                                   ) WITH PREJUDICE
       MANDARICH LAW GROUP LLP,                       )
 12                                                   )
                                                      )
                      Defendant.                      )
 13                                                   )
                                                      )
 14

 15            Plaintiff, DIANA BATTS, and Defendant, MANDARICH LAW GROUP LLP, through

 16    their respective counsel, stipulate to dismiss the above-captioned action pursuant to Federal Rule
 17    of Civil Procedure 41(a)(1)(A)(ii), with prejudice, each side to bear their own fees and costs.
 18
            DATED: December 20, 2012                 RESPECTFULLY SUBMITTED,
 19
                                                     KROHN & MOSS, LTD.
 20

 21                                          By: /s/ Douglas Baek               .

 22                                                  Douglas Baek (SBN: 258321)
                                                     Krohn & Moss, Ltd.
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 25                                                  dbaek@consumerlawcenter.com
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 26                                                  DIANA BATTS
 27

 28                                                   1
       _______________________________________________________________________________________________
                                   Stipulation of Dismissal and [Proposed] Order
Case 2:12-cv-08046-MWF-MRW Document 20 Filed 12/20/12 Page 2 of 3 Page ID #:68



  1    DATED: December 20, 2012                 RESPECTFULLY SUBMITTED,

  2                                             MANDARICH LAW GROUP LLP

  3
                                           By: /s/ Nathaniel Clark
  4                                        .
                                                Nathaniel Clark (State Bar No. 276621)
  5                                             Nathanielc@mandarichlaw.com
                                                MANDARICH LAW GROUP LLP
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                                                Woodland Hills CA 91367
  7                                             (818) 264-0108 Telephone
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       _______________________________________________________________________________________________
                                Stipulation of Dismissal and [Proposed] Order
Case 2:12-cv-08046-MWF-MRW Document 20 Filed 12/20/12 Page 3 of 3 Page ID #:69



  1                                          PROOF OF SERVICE

  2           I am employed in the County of Los Angeles, State of California. I am over the age of 18
       and not a party in this action. My business Address is 10474 Santa Monica Boulevard, Suite 401,
  3    Los Angeles, California 90025.
  4         On December 20, 2012, I served the following documents:              STIPULATION TO
       DISMISS CASE WITH PREJUDICE
  5
              On the parties listed below:
  6
             Nathaniel Clark                          Attorneys for Defendant,
  7          MANDARICH LAW GROUP LLP                  MANDARICH LAW GROUP, LLP
             6301 Owensmouth Avenue
  8          Woodland Hills CA 91367
  9           By the following means of service:
 10    [X]    BY ELECTRONIC SERVICE: the documents above were delivered electronically
              through the Court’s ECF/PACER electronic filing system, as stipulated by all parties to
 11           constitute personal service.
 12    [X]    BY ELECTRONIC MAIL: I transmitted the document(s) listed above electronically to
              the e-mail addresses listed above. I am readily familiar with the firm’s Microsoft Outlook
 13           e-mail system, and the transmission was reported as complete, without error.
 14    [X]    BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The
              envelope was mailed with postage thereon fully prepaid. I am readily familiar with the
 15           firm’s practice for collection and processing correspondence for mailing. Under that
              practice, this document will be deposited with the U.S. Postal Service on this date with
 16           postage thereon fully prepaid at Los Angeles, California in the ordinary course of
              business. I am aware that on motion of the party served, service is presumed invalid if
 17           postal cancellation date or postage meter date is more than one day after date of deposit
              for mailing in affidavit.
 18
       [X]    FEDERAL: I declare under penalty of perjury under the laws of California that the above
 19           is true and correct.
 20           Executed on December 20, 2012, at Los Angeles, California.
 21
                                                          By: /s/ Douglas Baek    .
 22
                                                                 Douglas Baek
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       _______________________________________________________________________________________________
                                 Stipulation of Dismissal and [Proposed] Order
